             Case 18-22856-GLT                             Doc 2    Filed 07/18/18 Entered 07/18/18 10:37:12                 Desc Main
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                                                      IN THE UNITED STATES BANKRUPTCY COURT                                      18-22856
                                                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In Re:                                                                               :       Bankruptcy No.
              Robert Langston Williams                                                :
                                                                                      :       Chapter 7
                                                                                      :
                                                                        Debtor        :
                                                                                      :
              Robert Langston Williams                                                :
 Movant                                                                               :       Related to Document No. 1
                                                                                      :
                                                                                      :
                                                                                      :
                                               v.                                     :
                                                                                      :
 No Respondent                                                                        :



                                                 NOTICE REGARDING FILING OF MAILING MATRIX

             In accordance with Local Bankruptcy Rule 1007-1(e) I,                        Dai Rosenblum, Esq. 31802 PA    , counsel for the
debtor(s) in the above-captioned case, hereby certify that the following list of creditors’ names and addresses was
uploaded through the creditor maintenance option in CM/ECF to the above-captioned case.



                                                                    By: /s/ Dai Rosenblum, Esq.
                                                                         Signature
                                                                        Dai Rosenblum, Esq. 31802 PA
                                                                        Typed Name
                                                                        254 New Castle Road
                                                                        Suite B
                                                                        Butler, PA 16001
                                                                        Address
                                                                        724-287-5300 Fax:724-287-5302
                                                                        Phone No.
                                                                        31802 PA
                                                                        List Bar I.D. and State of Admission




PAWB Local Form 29 (07/13)
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x
                                                                             18-22856
                        Caliber Home Loans
                        13801 Wingtoss Way
                        Oklahoma City, OK 73134

                        Capital One Bank
                        P.O. Box 5155
                        Norcross, GA 30091

                        Celtic Bank
                        P.O. Box 4499
                        Beaverton, OR 97076

                        Credit One Bank
                        PO Box 98873
                        Las Vegas, NV 89193

                        ECSI
                        100 Global View Drive
                        Warrendale, PA 15086

                        Fed Loan Servicing
                        P.O. Box 60610
                        Harrisburg, PA 17106

                        First Premier Bank
                        3820 N. Louise Avenue
                        Sioux Falls, SD 57107-0145

                        First Premier Bank
                        P.O. Box 5147
                        Sioux Falls, SD 57117-5147

                        Merrick Bank
                        P.O. Box 9201
                        Old Bethpage, NY 11804

                        Mid America Bank and Trust
                        216 W. 2nd Street
                        Dixon, MO 65459

                        Portfolio Recovery Associates
                        120 Corporate Blvd.
                        Suite 100
                        Norfolk, VA 23502
